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                                                                 Hired
                                     Short   Last Four Hired for
    first      middle     last                                   for Fed
                                    Form #   Tax Id. # GCCF?
                                                                 Lit?
Co             Van     Pham        38583     4826      N         Y
Tony                   Tran        42590     2907      N         Y
Peter                  Tran        42607     1659      N         Y
Dan            Thai    Phan        43156     3434      N         Y
Tuan           Huu     Nguyen      43346     7273      N         Y
Noert                  Huon        43531     1100      N         Y
Luom           T       Nguyen      44658     5175      N         Y
My             Thi     Le          44953     0836      N         Y
Alex                   Le          45056     6425      N         Y
Joe                    Nguyen      46875     6820      N         Y
Thom           Thi     Tran        46941     5215      N         Y
Eloise         P       Terry       48430     2789      N         Y
Brenda                 Billiot     48561     0863      N         Y
Chase                  Billiot     49090     4127      N         Y
Corey          Joseph  Billiot     49834     4618      N         Y
Earl                   Billiot     49855     2313      N         Y
Elizabeth      Dufrene Billiot     49876     8666      N         Y
Price                  Billiot     49906     2840      N         Y
Cuong          Van     Nguyen      51519     8360      N         Y
Ngua           Thi     Tran        51523     8373      N         Y
Theresa                Billiot     51611     9845      N         Y
Sheila         Verdin  Bourgeois   51673     4040      N         Y
Minh           Hoang   Chu         51705     8214      N         Y
Basile                 Dardar      52251     7243      N         Y
Casey                  Dardar      52257     9822      N         Y
Tan                    Nguyen      52525     5265      N         Y
Elizabeth              Billiot     52527     9007      N         Y
Emary                  Billiot     52550     4815      N         Y
Matthew                Chouest     52647     7418      N         Y
Dylan                  Dardar      52675     2011      N         Y
Hoi            Van     Tran        52916     8122      N         Y
Hai            Hoang   Huynh       53115     6519      N         Y
Anh            Van     Tran        53962     1227      N         Y
James          Ngoc    Nguyen      53969     316       N         Y
Ca             Van     Tran        53976     3797      N         Y
Hung           T.      Lam         53984     1705      N         Y
Ut             N.      Nguyen      54003     0320      N         Y
Quy            Van     Le          54014     8003      N         Y
Vinh           Van     Do          54019     2869      N         Y
Dao            Minh    Vu          54026     2227      N         Y
Dao            Minh    Vu          54032     8988      N         Y
Thy            Dang Nu Ton         54035     9916      N         Y
Minh           Duc     Nguyen      54038     7616      N         Y
Quang          Dang    Nguyen      54051     9328      N         Y
Anh            Ngoc    Dang        54059     4419      N         Y
Huy            V.      Vu          54065     5251      N         Y




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Vui                   Van      54066   3496    N            Y
Mary        Lan       Nguyen   54085   9816    N            Y
Xuyen       Thi       Pham     54094   2952    N            Y
Joseph      Van       Mai      54096   2967    N            Y
Thuan       Dinh      Nguyen   54147   6789    N            Y
Tina                  Vu       54155   2478    N            Y
Thanh       Van       Hoang    54162   7318    N            Y
Thu         Thi Ngoc Nguyen    54168   6673    N            Y
My                    Le       54173   5714    N            Y
Hong        Thi       Nguyen   54184   5641    N            Y
John                  Tran     54191   6054    N            Y
Tuong       C.        Bui      54201   3162    N            Y
Kim         Tuyet Thi Vu       54215   1919    N            Y
Binh        Thanh     Nguyen   54238   0170    N            Y
Joseph      Dong      Nguyen   54258   1212    N            Y
Su          D.        Tran     54262   4463    N            Y
Khanh       Van       Nguyen   54264   1003    N            Y
Hung        The       Trinh    54267   6201    N            Y
Du          D.        Tran     54272   5170    N            Y
Tung        T.        Chu      54286   9433    N            Y
Dong        Van       Tran     54291   1051    N            Y
Thuy        Thi Ngoc Nguyen    54295   3219    N            Y
Julie       Dung      Nguyen   54300   7938    N            Y
Kim Khanh   Thi       Nguyen   54307   7498    N            Y
John        The       Nguyen   54329   6430    N            Y
Tuan        Anh       Nguyen   54336   2060    N            Y
Hue                   Nguyen   54349   6227    N            Y
Nghia       Huu       Vo       54356   0048    N            Y
Tri         Quoc      Phu      54371   3880    N            Y
Phuc        Van       Tran     54415   4231    N            Y
Tuyet       Thi       Tran     54473   0530    N            Y
Ca          Van       Tran     54582   9590    N            Y
Qui         Van       Nguyen   54780   4437    N            Y
Son         Huu       Nguyen   54781   6771    N            Y
Binh        Vu        Pham     54783   4847    N            Y
Van         Sinh      Phan     54784   9850    N            Y
Sinh        Minh      Vu       54785   5661    N            Y
Canh        Ngoc      Tran     54786   9593    N            Y
Dang        Dinh      Tran     54787   4516    N            Y
Dong                  Tran     54788   9195    N            Y
Ho          Van       Tran     54789   3727    N            Y
Loi         Huu       Tran     54791   2860    N            Y
Thanh       Van       Tran     54792   8872    N            Y
Thieu       Ngoc      Tran     54793   9218    N            Y
Tung        Van       Tran     54794   8015    N            Y
Van         T.        Tran     54796   5266    N            Y
Leona                 Verdin   54796   9329    N            Y
Van         T.        Tran     54796   5266    N            Y
Patrick               Verdin   54797   9700    N            Y




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Randy               Verdin   54798   0442      N            Y
Tammy               Verdin   54799   4176      N            Y
Walterine           Verdin   54800   7047      N            Y
Son         Van     Vo       54801   3647      N            Y
Hung        V.      Huynh    54804   0476      N            Y
Hung        V.      Huynh    54811   2677      N            Y
Mai         Thi     Lam      54818   9076      N            Y
A           Thi     Le       54822   0179      N            Y
Xem         Thi     Le       54825   3098      N            Y
Gai         Thi     Nguyen   54828   8391      N            Y
No          Van     Nguyen   54839   4478      N            Y
Phi         Long    Nguyen   54842   4416      N            Y
Kimberly    Lien    Le       55007   8217      N            Y
Be          Doan    Tran     55010   5720      N            Y
Dwight              Reyes    55015   6465      N            Y
Henry       H.      Pham     55730   8682      N            Y
Binh        Van     Nguyen   55829   6217      N            Y
Sinh        Trong   Pham     55832   3634      N            Y
Nho         Van     Tran     55836   3538      N            Y
Kimberly    Le      Hoang    55894   7333      N            Y
Bobby               Nguyen   55987   8291      N            Y
Quoc        Xuan    Pham     55991   1104      N            Y
Nhut        Van     Le       56008   4808      N            Y
Thoa        Dinh    Nguyen   56013   7952      N            Y
Tom         Huu     Do       56020   8609      N            Y
Vu          Xuan    Nguyen   56024   7061      N            Y
Quoc        Van     Nguyen   56029   7008      N            Y
Kenny       Hung MonNguyen   56039   8495      N            Y
Uyen        To      Le       56051   1441      N            Y
Phe                 Nguyen   56151   8911      N            Y
Dzuy        Minh    Le       56169   4410      N            Y
Hai         Hoang   Huynh    56180   8682      N            Y
Andy        K.      Dang     56186   7795      N            Y
Ngoc        Anh     Do       56195   8704      N            Y
Andy        K.      Dang     56202   0007      N            Y
Luc         Tan     Nguyen   56207   4826      N            Y
Lam         Thi     Hoang    56214   1191      N            Y
Vui         Van     Nguyen   56219   4662      N            Y
Hung        Minh    Nguyen   56269   6042      N            Y
Steven              Le       56277   1212      N            Y
Lynn                Huynh    56289   4394      N            Y
An          Nhu     Thai     56378   7375      N            Y
Lan-Anh     Thi     Nguyen   56384   5317      N            Y
Ngoc-Diem   Thi     Huynh    56444   3989      N            Y
Charlie     Van     Vo       56451   6058      N            Y
Tuoi        Thi     Nguyen   56459   2895      N            Y
Tien        Anh     Hoang    56852   4907      N            Y
Loan        Kim Thi Ly       57216   8951      N            Y
Kevin               Le       57224   7265      N            Y




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Trong        Van      Phan     57226   4933     N            Y
Hai          Van      Nguyen   57227   4084     N            Y
Tommy        Tuan Van Tran     57228   8198     N            Y
Nhan                  Nguyen   57229   4224     N            Y
Kevin (Du)   M.       Le       57232   9317     N            Y
Thu          Huong Th Pham     57233   0817     N            Y
Anna         Hang     Phan     57234   4794     N            Y
Thai         Van      Nguyen   57235   9247     N            Y
Tong         Ba       Vo       57236   9929     N            Y
Duy          Quang    Nguyen   57239   3439     N            Y
Sang         Thi      Nguyen   57240   2160     N            Y
Thieu        Quoc     Nguyen   57241   4174     N            Y
Huong        Thi Diem Le       57242   8507     N            Y
Thanh        Dinh     Nguyen   57245   0817     N            Y
Wendy                 Nguyen   57246   0317     N            Y
Cong         Van      Le       57248   8569     N            Y
Lindsey      Vu       Pham     57251   2449     N            Y
Lindsey      Vu       Pham     57254   9860     N            Y
Uyen         P.       Nguyen   57255   7755     N            Y
Tony         Giang    Nguyen   57256   8575     N            Y
Quynh        Van      Dang     57257   6786     N            Y
David        That     Pham     57258   1569     N            Y
Ha           Thanh    Pham     57259   2398     N            Y
Mai          Thi      Do       57261   1641     N            Y
Cuc          Van      Huynh    57262   4465     N            Y
Mai          Thi      Do       57264   2332     N            Y
Le           Thi      Nguyen   57267   7259     N            Y
Can          Van      Nguyen   57268   4334     N            Y
Mai          Thi      Do       57269   1018     N            Y
Tom          Cong     Huynh    57270   4618     N            Y
Tom          Cong     Huynh    57271   4645     N            Y
Tom          Cong     Huynh    57272   6717     N            Y
Cuong        Huyen    Dao      57276   3705     N            Y
Truc         Trung    Huynh    57277   1285     N            Y
Danny        Don      Le       57284   1876     N            Y
Cuc          Van      Huynh    57287   3543     N            Y
Thanh        Van      Le       57288   0536     N            Y
Timmy        Ngoc     Nguyen   57289   7583     N            Y
Tan          Thoi     Nguyen   57290   1904     N            Y
Loc          Xuan     Nguyen   57291   4908     N            Y
Da           Wei      Gao      57293   0042     N            Y
Tan          Quang    Dang     57294   7682     N            Y
Hung         Van      Nguyen   57297   1158     N            Y
Hung         Dac      Ho       57298   2646     N            Y
Cao          Vin      Nguyen   57300   7307     N            Y
Dung         Thi My   Nguyen   57303   1157     N            Y
Quang        Hong     Tran     57304   6425     N            Y
Tam          Thanh    Vu       57305   8130     N            Y
Minh         Van      Nguyen   57996   5844     N            Y




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Thanh Van   Thi       Nguyen       58009   8224   N            Y
Phasiry     Bou       Thanong      59124   0366   N            Y
Kerry                 Guerra       59253   5638   N            Y
Dong        Van       Dang         59350   4617   N            Y
Duoc        Van       Le           59417   9445   N            Y
Chau                  Nguyen       59429   7282   N            Y
Chinh       Van       Nguyen       59440   1924   N            Y
Chinh       Van       Nguyen       59449   3920   N            Y
Dung        Vi        Nguyen       59463   4086   N            Y
Percy       Todd      Parker       59537   1080   N            Y
Hang        Thuy      Nguyen       59546   5589   N            Y
Hoc         Van       Nguyen       59561   5423   N            Y
Hoc         Van       Nguyen       59575   5992   N            Y
Hong Loan   Thi       Nguyen       59588   0930   N            Y
Hong Yen    Thi       Nguyen       59603   4433   N            Y
Kiem                  Nguyen       59613   8683   N            Y
Lien        Van       Nguyen       59810   4253   N            Y
Phi         Van       Nguyen       59846   5032   N            Y
Quoc        Anh       Nguyen       59861   8602   N            Y
Thoa        Sara      Nguyen       59934   4420   N            Y
Tuan        Anh       Nguyen       59947   4529   N            Y
Muoi        V.        Pham         59964   0380   N            Y
Thanh       Thi       Tran         59991   7592   N            Y
John        William   Gallardo     60409   2438   N            Y
Jimmy                 Autin        60479   7676   N            Y
Roland                Billiot      60489   2641   N            Y
Vicki                 Bonvillain   60499   5714   N            Y
Annalou               Hernandez    60502   9663   N            Y
Russell               Dardar       60530   3467   N            Y
Norris      Alvin     Hotard       60531   1989   N            Y
Brooke      Nicole    Lyons        60545   5711   N            Y
Jeannie               Facille      60551   1873   N            Y
Kristin               Matherne     60564   2382   N            Y
Efram                 Naquin       60579   6534   N            Y
Mary                  Verdin       60582   8217   N            Y
Tammy                 Billiot      60590   3105   N            Y
Judy                  Naquin       60609   9416   N            Y
Larry                 Naquin       60654   7868   N            Y
Zachary               Naquin       60658   0071   N            Y
Erica       Billiot   Ross         60670   5135   N            Y
Anthony     Michael   Verdin       60680   5885   N            Y
Donna                 Dardar       60694   9319   N            Y
Allen       N         Billiot      60724   3920   N            Y
Armando     Joseph    Brunet       60732   8676   N            Y
Ebro                  Verdin       60736   3280   N            Y
Joan                  Brunet       60744   4397   N            Y
Louverdia             Dardar       60752   0707   N            Y
Jeff        Paul      Verdin       60754   9266   N            Y
Patti       Verdin    Dardar       60768   9184   N            Y




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Raymond               Dardar      60780   0763   N            Y
Sherry                Dardar      60796   4778   N            Y
Terry        Paul     Dardar      60804   4515   N            Y
John                  Verdin      60811   8272   N            Y
Tommy                 Dardar      60812   9004   N            Y
Keith        John     Verdin      60823   9489   N            Y
Kenneth      Curtis   Verdin      60830   6638   N            Y
Ngan         Van      Bui         60859   7122   N            Y
Dung         Thi      Doan        60865   1298   N            Y
James                 Driggers    60869   0746   N            Y
Wallace               Verdin      60870   7519   N            Y
James                 Driggers    60877   0393   N            Y
Shirley      Ann      Driggers    60881   5320   N            Y
Eddie                 Hotard      60882   9445   N            Y
Hyung        Chan     Kim         60893   4422   N            Y
Lucy                  Kim         60899   2671   N            Y
Hoa          Thi      Ly          60902   8770   N            Y
Thai         Quoc     Ly          60908   1007   N            Y
Sidney                Verdin      60914   9443   N            Y
Phuong                Ngo         60917   9600   N            Y
Henry        Trang    Nguyen      60922   0175   N            Y
Hoa          Van      Nguyen      60941   4306   N            Y
Minh         Hoang    Nguyen      60947   3552   N            Y
Thom         Van      Nguyen      60955   1727   N            Y
Thanh        Thi      Pham        60978   8038   N            Y
Amy          Thanh    Tran        60991   5867   N            Y
Hai                   Trang       60995   0963   N            Y
Thunnarith            Oum         61434   2741   N            Y
Andrew                Vo          61548   7594   N            Y
Andrew                Vo          61577   7930   N            Y
Thanh        Hoang    Nguyen      61587   2639   N            Y
Hao          Son      Vu          61597   4319   N            Y
Loi          Tan      Hoang       61605   2463   N            Y
Trinh        Thi      Tran        61630   9941   N            Y
Mung         Van      Pham        62046   9494   N            Y
Sanh         Van      Tran        62059   5404   N            Y
James        Hieu     Pham        62070   9611   N            Y
Long         Thanh    Nguyen      62077   8643   N            Y
Quang        Xuan     Tran        62085   5764   N            Y
Elizabeth    Ngoc-BichBui         62097   9687   N            Y
Tam          Van      Le          62105   5970   N            Y
Duc          Van      Tran        62111   8457   N            Y
Xy           Thi      Phan        62168   3135   N            Y
Dan          Thi      Nguyen      62232   8612   N            Y
Khoi         Anh      Duong       62459   7630   N            Y
James                 Gerakines   62470   4004   N            Y
Suzanne      L.       Henning     62478   3948   N            Y
Tuan         Anh      Hoang       62484   9681   N            Y
Ly                    Huynh       62491   2940   N            Y




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Ly                   Huynh    62497   4051      N            Y
Elina       Thi      Lam      62521   9077      N            Y
Qui         Van      Le       62529   3023      N            Y
Quynh       Thi      Ngo      62552   8232      N            Y
Trong       Ken      Ngo      62563   9082      N            Y
Anh         Thi Thuy Nguyen   62573   7570      N            Y
Anh         Thi Thuy Nguyen   62585   7946      N            Y
Cang                 Nguyen   62669   0399      N            Y
John DominicMinh     Nguyen   62681   3765      N            Y
John DominicMinh     Nguyen   62690   4368      N            Y
Johnny      Phuoc    Nguyen   62699   7498      N            Y
Khan        Van      Nguyen   62711   4684      N            Y
Michael              Nguyen   62743   0369      N            Y
Michael              Nguyen   62760   5199      N            Y
Minh        Van      Nguyen   62773   4466      N            Y
Phuoc       H.       Nguyen   62793   6585      N            Y
Tan         Minh     Nguyen   62798   3010      N            Y
Van         H.       Nguyen   62824   3360      N            Y
Yen         Ngoc     Nguyen   62834   5104      N            Y
Scott                Pham     62840   1690      N            Y
Anita                Sides    62850   2502      N            Y
Anh         Ngoc     Tran     62856   5745      N            Y
No          Lam      Tran     62861   5862      N            Y
Sang        Van      Tran     62883   9426      N            Y
Sinh        Thi      Vu       62894   2323      N            Y
Khuong               Danh     63123   9912      N            Y
Giau        Minh     Nguyen   63564   3365      N            Y
Ha          T.       Nguyen   63569   2782      N            Y
Quoc        Dung     Phan     63606   6371      N            Y
Hai         V.       Huynh    63736   5630      N            Y
Hung        Tien     Dao      64269   8985      N            Y
Thuy        Nguyen Dang       64284   6214      N            Y
Hai         Van      Nguyen   64312   0453      N            Y
Manh        Tan      Nguyen   64323   9966      N            Y
Garrett     Ray      Fouts    64455   1940      N            Y
Hoan        Ba       Hoang    64464   2675      N            Y
Thu Van     Thi      Huynh    64476   4283      N            Y
Anh         Michael Ly        64484   9134      N            Y
Rhonda               Nguyen   64508   5556      N            Y
Thanh       Duy      Nguyen   64518   2386      N            Y
Tony                 Nguyen   64528   2613      N            Y
Tuan        A.       Nguyen   64538   1532      N            Y
Tung        T.       Nguyen   64545   2390      N            Y
Van         Huy      Tran     64552   2335      N            Y
Kieu        T.       Ta       64695   0642      N            Y
Van         Huy      Tran     64723   9115      N            Y
Na          Phi      Danh     64810   1527      N            Y
Sang        Thi      Hoang    64825   2547      N            Y
Tu          Van      Luong    64833   1667      N            Y




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Mien        H.       Nguyen   64842    4245      N            Y
Trang       T.       Nguyen   64850    4347      N            Y
Phuong      Hong     Pham     64858    7936      N            Y
Thu         Ngoc     Tran     64869    8016      N            Y
Thanh       Thi      Nguyen   65287    2798      N            Y
Thanh       Thi      Nguyen   65304    2798      N            Y
Tuyen       Van      Nguyen   65313    9935      N            Y
Anh         Thi To   Tran     65321    4344      N            Y
Oanh        Thi To   Tran     65328    1748      N            Y
Hoan        Vu       Mai      65346    3531/     N            Y
                                       8001
Hoan        Vu       Mai      65365    4866      N            Y
Joseph      Hoang    Vu       65371    1768      N            Y
Hung        Duy      Tran     65408    4738      N            Y
Chau        Ngoc     Pham     65444    2555      N            Y
Chau        Ngoc     Pham     65465    4519      N            Y
Hai         Bang     Nguyen   65474    1810      N            Y
Thanh       Van      Nguyen   65514    8199      N            Y
Trung       Hai      Truong   66276    7538      N            Y
Maria       Hieu     Le       68071    7154      N            Y
Maria       Hieu     Le       68081    7154      N            Y
Maria       Hieu     Le       68084    7154      N            Y
Hoa         Thi      Nguyen   68121    4223      N            Y
Diep        Ngoc     Phan     68135    8658      N            Y
Diep        Ngoc     Phan     68149    8658      N            Y
Phuong Hong T.       Tran     68161    5359      N            Y
Phuoc       Thi      Bui      68168    4924      N            Y
Dung        Hoang    Pham     68173    6027      N            Y
Nghiep      Van      Do       68183    0852      N            Y
Linh                 Nguyen   68190    5259      N            Y
Chi Kim     Thi      Ly       68202    3504      N            Y
Henry                Huynh    68214    5888      N            Y
Lan         Thi      Nguyen   68227    2511      N            Y
Tri         Minh     Duong    68246    9069      N            Y
Thong       Huu      Le       68258    2994      N            Y
Tuyet       Thi      Nguyen   68287    2535      N            Y
Phuong      Thanh    Nguyen   68293    3052      N            Y
Khoa        Hong     Le       68301    0044      N            Y
Khoa        Hong     Le       68310    0044      N            Y
Khoa        Hong     Le       68324    0044      N            Y
Phat        V.       Hoang    68345    3868      N            Y
Son         Xuan     Mai      68351    2760      N            Y
Kathy Lynn Kim       Nguyen   69000    9062      N            Y
Mary                 Tran     69140    3352      N            Y
Kevin       Khoi     Nhan     69151    1764      N            Y
Nghia       Van      Do       69174    6983      N            Y
Cuong       Van      Nguyen   69230    1798      N            Y
Stephen              Tran     69243    7756      N            Y
Trang                Cao      69278    6515      N            Y




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Long        Ngoc     Nguyen    69374   8465     N            Y
Anh         Ngoc     Hoang     69461   8138     N            Y
Kim         Chi      Nguyen    69489   1516     N            Y
Michelle             Skrmetta  69538   0075     N            Y
Katharine            Trahan    69614   9948     N            Y
Phai        Tran     Danh      69768   7802     N            Y
Donna       Marie    Ferguson  69778   4195     N            Y
Vincent              Le        69785   8657     N            Y
Dat         T.       Mai       69792   9592     N            Y
Thuong      M.       Bui       69800   6887     N            Y
Hanh        T.       Dinh      69810   5970     N            Y
Christine   Mai Tran Ho        69819   7745     N            Y
Linh        Van      Luong     69825   5932     N            Y
Sheena      Suong    Mai       69851   2838     N            Y
Huan        H.       Nguyen    69857   7480     N            Y
Kim         Lien     Nguyen    69881   5622     N            Y
Nhi         A.       Nguyen    69888   3470     N            Y
Quan                 Nguyen    69901   2907     N            Y
Van         C.       Nguyen    69910   7954     N            Y
Gam                  Tran      69915   6311     N            Y
Lan                  Tran      69922   6396     N            Y
Son         T.       Tran      69927   3949     N            Y
Hong        Hoang    Nguyen    69943   4893     N            Y
Duong       Viet     Nguyen    69964   0820     N            Y
Paula       Thuy     Nguyen    69982   6489     N            Y
Lam         Van      Mai       70004   5620     N            Y
Gina                 Mai       70019   6788     N            Y
Elton                Billiot   70146   6920     N            Y
Paige                Billiot   70163   4820     N            Y
Price                Billiot   70195   9057     N            Y
Tung        Thanh    Ho        70225   4008     N            Y
Michelle    B.       Matherne  70228   1093     N            Y
Anthony              Matherne  70236   6462     N            Y
Walter               Hotard    70241   5711     N            Y
Ronald               Hotard    70251   2014     N            Y
Norris               Hotard    70262   8436     N            Y
Lance                Foussell  70295   4968     N            Y
Jamie                Ellender  70306   1015     N            Y
Jamie                Ellender  70317   1075     N            Y
Jamie                Ellender  70329   5685     N            Y
Jamie                Ellender  70345   5679     N            Y
Chantel              Ellender  70358   8757     N            Y
Leonise     Naquin Dardar      70379   8338     N            Y
Cherie               Crochet   70391   8428     N            Y
David                Champagne 70405   9165     N            Y
Bobby                Sloan     70414   1866     N            Y
Rhonda               Sloan     70600   2026     N            Y
Gertie               Verdin    70607   2939     N            Y
Kyle                 Naquin    70619   8424     N            Y




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Joshua                  Dardar    70629   0947   N            Y
Christopher             Verdin    70651   7549   N            Y
Michael                 Verdin    70671   4929   N            Y
Jonathon                Verdin    70687   9036   N            Y
Brent                   Verdin    70712   2784   N            Y
Ernest        A.        Verdin    70732   6554   N            Y
Damien                  Verdin    70742   5227   N            Y
Connie                  Verdin    70766   6769   N            Y
Walterine               Naquin    70845   4463   N            Y
Kendrick                Naquin    70862   4791   N            Y
Jordan                  Naquin    70916   4393   N            Y
Faith         Verdin    Naquin    70971   9744   N            Y
Arlene                  Naquin    70982   0972   N            Y
Angel                   Ledet     70996   8423   N            Y
Edward        Joseph Ri Hotard    71011   1977   N            Y
Matthew                 Dardar    71026   1756   N            Y
Lanny                   Dardar    71076   0233   N            Y
Donald        S.        Dardar    71134   3101   N            Y
Glynn                   Boquet    71141   3919   N            Y
Jake                    Billiot   71154   6824   N            Y
Willcliff     Adam      Verdin    71170   8213   N            Y
Ly            Van       Trieu     71186   2761   N            Y
Dung          Pham      Nguyen    71193   4579   N            Y
Ngoc          Dung      Nguyen    71202   7508   N            Y
Chi           Viet      Mai       71209   3080   N            Y
Linh          Thi       Pham      71219   8480   N            Y
Phuong        Minh      Nguyen    71224   1992   N            Y
Jordan        Michael LeBoeuf     71231   2396   N            Y
Minh          Ha Do     Tu        71240   2031   N            Y
Jeremiah      Anthony LeBoeuf     71250   9590   N            Y
Viet          Nguyen Hoang        71259   6296   N            Y
Yen           Phi       Tang      71263   1920   N            Y
Duong         Dinh      Vu        71264   4937   N            Y
Henry         Tri       Lee       71275   1853   N            Y
Tho           Van       Tran      71283   1503   N            Y
Kim           Ngan Thi Tu         71288   2160   N            Y
Yen           Phi       Tang      71298   1885   N            Y
Jennifer      Nga       Ninh      71342   2384   N            Y
Linh          Thi       Tran      71393   9083   N            Y
Le                      Hong      71405   6087   N            Y
Thuy          Thanh     Nguyen    71419   9230   N            Y
Thiet         Van       Tran      71422   9657   N            Y
Amy           Le Hoa    Nguyen    71426   3441   N            Y
Binh          Van       Vo        71435   8366   N            Y
Bo            Thi       Nguyen    71443   4618   N            Y
Quoc          A.        Tran      71451   3812   N            Y
Thomas        Phuoc     Nguyen    71457   6997   N            Y
Linda                   Ly        71465   6024   N            Y
Vu            D.        Truong    71471   3945   N            Y




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Marc         Lac The  Nguyen   71481    8827      N             Y
Sandy        Dang     Nguyen   71485    6744      N             Y
Joe          A.       Perez    71490    1098      N             Y
Hue          Thi      Nguyen   71498    8729      N             Y
Kym                   Tran     71500    5665      N             Y
Nga          Thi      Tran     71505    6021      N             Y
Tham         T.       Truong   71513    1327      N             Y
Diep         Thi      Nguyen   71519    5591      N             Y
Diep         Thi      Nguyen   71525    2779      N             Y
Tri          Huu      Nguyen   71534    9789      N             Y
Tai          Huu      Nguyen   71546    5074      N             Y
Tai          Huu      Nguyen   71549    5074      N             Y
Binh         D.       Luu      71553    7260      N             Y
Devon                 Dunbar   71556    8550      N             Y
Tracy        Marie    Mai      71565    3276      N             Y
Tracy        Marie    Mai      71568    7375      N             Y
Tracy        Marie    Mai      71572    1285      N             Y
Ha           V.       Vu       71577    6743      N             Y
Theresa               Vu       71580    0579      N             Y
Samson                Nguyen   71589    9836      N             Y
Sinh         Ngoc     Truong   71592    2878      N             Y
Phising      Thi      Phan     71594    6004      N             Y
Thuan        Van      Vo       71612    7090      N             Y
Thong        Minh     Nguyen   71615    0354      N             Y
Quang        Van      Tran     71617    4442      N             Y
Tuyen        K. T.    Vu       71623    8189      N             Y
Phuc         Dinh     Tran     71640    9149      N             Y
Hoang        Thang    Tran     71675    0619      N             Y
Oanh         Thi      Nguyen   71682    0941      N             Y
Julie        Thi      Do       71704    4955      N             Y
Julie        Thi      Do       71710    4951      N             Y
David                 Tran     71735    7312      N             Y
An           Thi      Huynh    71746    4258      N             Y
Helen                 Vo       71751    9698      N             Y
Peter        Tuan Quo Nguyen   71757    2383      N             Y
Thai         Dinh     Nguyen   71762    9023      N             Y
Hoa          Ngoc     Nguyen   71774    8595      N             Y
Ninh         Van      Nguyen   71776    8990      N             Y
Hung         Minh     Bui      71780    5426      N             Y
Phuoc        Thi      Nguyen   71784    4309      N             Y
Xuan         Huong Th Tran     71788    1389      N             Y
Mai          Thoa T. Tran      71793    0210      N             Y
Dung         Chi      Nguyen   71798    7660      N             Y
Gina                  Mai      71801    4360      N             Y
Thuong                Truong   71803    2484      N             Y
Lang         Van      Mai      71806    3088      N             Y
Manh         Thi      Phan     71810    2905      N             Y
Trang        Thi ThanhNguyen   71814    6114      N             Y
Trinh        Mong Thi Ly       71818    1304      N             Y




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Hui           Jin      Lin          71821   7582   N             Y
Vu            Hoang    Vo           71825   2773   N             Y
Andrea        Marie    James        71829   7465   N             Y
Alton         T.       Billiot      71832   3301   N             Y
Trung         Tuan     Hoang        71835   6278   N             Y
Price                  Billiot      71839   4654   N             Y
Andy          Anthony LeBoeuf       71841   0115   N             Y
Sanh          Minh     Vo           71846   1328   N             Y
Lanh                   Tran         71847   3144   N             Y
Price                  Billiot      71848   5683   N             Y
Yvonne        Thi      Tran         71853   2633   N             Y
Risha         Marie    Billiot      71857   3820   N             Y
Vuong         Kim      Huynh        71858   0057   N             Y
Khoa          Ngoc     Huynh        71861   4140   N             Y
Minh          Thanh    Vu           71869   2193   N             Y
Brian         Thanh    Vu           71879   0778   N             Y
David                  Tran         71882   9286   N             Y
Gina                   Huynh        71885   2819   N             Y
Jacob                  Guidry       71890   3117   N             Y
Gina                   Huynh        71891   1541   N             Y
Annie         Verdin   Hutchinson   71916   5971   N             Y
Michael       A.       Adam         71917   2072   N             Y
Ryan          Matthew Guillory      71919   7947   N             Y
Ryan          Matthew Guillory      71921   7225   N             Y
Derek                  Hutchinson   71922   7677   N             Y
Mitchell               Hutchinson   71932   4221   N             Y
Geneva        Verdin   LeBeouf      71948   8220   N             Y
Peter         Buu      Tran         71950   7228   N             Y
Joshua                 LeBeouf      71951   0379   N             Y
Nha           Thanh    Phan         71953   3734   N             Y
Tuyen         Viet     Vu           71959   6604   N             Y
Den                    Nguyen       71962   8072   N             Y
Paul                   LeBeouf      71964   7732   N             Y
Cu            Van      Nguyen       71967   4956   N             Y
Regina        Marie    LeBoeuf      71970   7760   N             Y
Dung                   Bui          71971   7335   N             Y
Shawn         Paul     LeBouef      71978   6631   N             Y
Hue                    Nguyen       71985   7173   N             Y
Jesse                  Matherne     71986   1590   N             Y
Minh                   Le           71991   6171   N             Y
Minh          Van      Le           71995   6171   N             Y
Norine        Jane VerdTurnstall    71996   9722   N             Y
Lang          Van      Huynh        71999   1635   N             Y
Alton                  Verdin       72000   9193   N             Y
Lang          Van      Huynh        72002   1635   N             Y
Johnny        Hiep     Huynh        72005   9857   N             Y
Nhan          Quoc     Tran         72007   5176   N             Y
Hung          Van      Lai          72009   3069   N             Y
Bill          Viet     Le           72011   4810   N             Y




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Ut             Van      Truong      72013   0520    N             Y
Truc           Thi      Tra         72016   6360    N             Y
Angele         Verdin   Black       72017   1773    N             Y
Joe            H.       Dang        72026   8422    N             Y
Ann            N.       Nguyen      72029   5197    N             Y
Brian          Keith    Verdin      72030   9711    N             Y
Thanh          Tan      Phan        72031   2190    N             Y
Tony           Van      Nguyen      72033   2340    N             Y
Brooke         Rene     Verdin      72034   2769    N             Y
Kevin          Ngoc     Luong       72035   6842    N             Y
Van            Y.       Dinh        72037   8576    N             Y
Dung           Van      Le          72040   5328    N             Y
Carol                   Syboutlan 72051     3160    N             Y
Tuan           Tan      Do          72054   8669    N             Y
Charles        F.       Verdin      72059   2323    N             Y
Son            Minh     Truong      72061   3640    N             Y
Billy                   Nghiem      72062   6567    N             Y
Christine               Verdin      72064   8218    N             Y
Tham           Thi      Huynh       72070   4061    N             Y
Cindy                   Verdin      72072   9733    N             Y
Thanh                   Phan        72074   6233    N             Y
Earline                 Verdin      72077   0394    N             Y
Lang           Van      Huynh       72079   1635    N             Y
Duong                   Nguyen      72081   6174    N             Y
Blanca         H.       Garcia-Juare72083   8082    N             Y
Ivey                    Hall        72092   9028    N             Y
The            Thanh    Tran        72096   9559    N             Y
The            Thanh    Tran        72100   6130    N             Y
Kieu           Dung     Nguyen      72105   3654    N             Y
Shirley                 Verdin      72107   2847    N             Y
Hung           M.       Le          72120   4694    N             Y
Dinh                    Nguyen      72123   7281    N             Y
Jose                    Jimenez     72127   6110    N             Y
Jose                    Jimenez     72131   6110    N             Y
Linda          H.       Le          72135   7662    N             Y
Dung           Dat      Nguyen      72138   5058    N             Y
Anh            Hong     Nguyen      72142   1760    N             Y
Loc            Minh     Tran        72145   4069    N             Y
Michael                 Bui         72152   9716    N             Y
Tran           Van      Doan        72155   5094    N             Y
Canh           Thi      Le          72157   7592    N             Y
Luong          Van      Do          72159   6411    N             Y
Bay            Van      Nguyen      72166   2354    N             Y
Giang          Hoa      Nguyen      72180   3680    N             Y
Cham           Van      Nguyen      72196   2868    N             Y
Cham           Van      Nguyen      72201   5678    N             Y
Kiet           L.       Tieu        72242   6676    N             Y
Hung           Ngoc     Tran        72249   0789    N             Y
Thinh          Van      Chu         72254   1280    N             Y




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Thanh               Dang        72261    8474   N            Y
Lee                 Tran        72267    4582   N            Y
Be         Ngoc     Dang        72272    7255   N            Y
Harold              Wainer      72273    7758   N            Y
Russell             Dardar      72278    0473   N            Y
Tham       Thi Bich Le          72295    1115   N            Y
Trinh               Phan        72338    6953   N            Y
Sanh                Le          72345    0132   N            Y
Hon        Huu      Nguyen      72349    1229   N            Y
Mario      A.       Contreras   72362    1921   N            Y
Cau        Van      Tran        72739    3148   N            Y
Rekka      M.       Dardar      73439    0921   N            Y
Dung       Thi      Nguyen      73900    3969   N            Y
Toan       Thanh    Phan        73948    3483   N            Y
Chien      Van      Duong       75760    4932   N            Y
Willie              Farmer      75775    4481   N            Y
Jonathan   Keith    Ragas       75834    6582   N            Y
Adam                Dardar      76218    3466   N            Y
Mazie      D.       Dardar      76223    3439   N            Y
Chase               Orgeron     76226    9090   N            Y
Ky         Phong    Hoang       77320    5801   N            Y
Ky         Phong    Hoang       77321    5801   N            Y
Tuan       Thanh    Nguyen      78325    8225   N            Y
Benny      Van      Nguyen      78326    4110   N            Y
Cathi               Tong        78477    7946   N            Y
Hien       Van      Tran        86274    7896   N            Y
Son        Van      Chau        86276    2644   N            Y
Nghi                Son         86281    8185   N            Y
Sokhoms    Khem     Ourks       88263    1925   N            Y
Sokhoms    Khem     Ourks       88269    1925   N            Y
Van        Hong     Nguyen      89796    2314   N            Y
Hong       Van      Le          93602    7753   N            Y
Freddie             Coleman     94834    5857   N            Y
Malis               Lay         94835    4956   N            Y
Mona       Ragas    Coleman     94837    3291   N            Y
Tommy      Ngoc     Tran        94838    2652   N            Y
Tommy      Ngoc     Tran        94840    6899   N            Y
Thao       Kim      Dang        98679    4684   N            Y
Van        Hong     Nguyen      100817   1940   N            Y
Tot                 Hoang       104811   3189   N            Y
Thu        Hong     Lam         104954   9843   N            Y
 Annie     Lam      Tran        106872   5203   N            Y
Hoang      Thanh    Phan        106887   0101   N            Y
Dung       Van      Le          106892   2218   N            Y
Lam        Minh     Hoang       106920   2174   N            Y
Chhay               Lim         106921   3049   N            Y
Le                  Hoang       106926   1910   N            Y
Le                  Hoang       106926   1910   N            Y
Nghia      Cao      Nguyen      107176   7377   N            Y




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Thu        Thi Ngoc Nguyen    107261   3213    N             Y
Benjamin   James    Truong    107281   0859    N             Y
Benjamin   James    Truong    107281   7486    N             Y
Tung       J        Le        107295   4414    N             Y
Ut         Van      Pham      107298   4993    N             Y
Chan       T.       Do        107299   4421    N             Y
Nu                  Ly        107317   1262    N             Y
Edward     A.       Dugar     107318   3575    N             Y
Johnny              Chaisson  107352   0660    N             Y
Cuong      Van      Le        107452   2737    N             Y
Mark                Brunet    107561   9757    N             Y
Elida      Ann      Brown     108050   5738    N             Y
Herman     James    Demoll    108055   4024    N             Y
Nung       Van      Huynh     108059   7998    N             Y
Zaccheus   Billy    Johnson   108062   1054    N             Y
Ty Son              Nguyen    108188   2721    N             Y
Thom       Thi      Truong    108191   4129    N             Y
Lily                Tran      108248   7901    N             Y
Mai        K        Tran      108252   4610    N             Y
Anthony    Floyd    Magrette  108253   5998    N             Y
Johnny     Vanson Truong      108257   0848    N             Y
Hoa        V        Truong    108258   5668    N             Y
Daniel     Joseph   Bourgeois 108608   9133    N             Y
Herman     James    Demoll    108609   2910    N             Y
Robert     Dale     King      108957   7953    N             Y
Maxie               Machado   108958   6954    N             Y
Dat        Tan      Nguyen    108967   2100    N             Y
Tuan                Nguyen    108968   2544    N             Y
Henry      Thao     Nguyen    108971   1581    N             Y
Mot        Trung    Truong    108972   8247    N             Y
Freddy     Joseph   Demolle   109033   6677    N             Y
Cang       Van      To        109034   3112    N             Y
Phung      Ky       Pham      109071   8509    N             Y
James      Alido    Phillips  109078   9668    N             Y
Joseph              Gibson    109083   6787    N             Y
Rodney     Rene     Parker    109084   1008    N             Y
Myron      Francis Barthelemy 109088   6312    N             Y
Clement             Parker    109092   2967    N             Y
Cal                 LaFrance  109108   1416    N             Y
Carlton    Michael LaFrance   109110   2384    N             Y
Justin     Tramaine Salvant   109122   2361    N             Y
Soc                 Nguyen    109130   9066    N             Y
Dwayne     Scott    Gaines    109140   4476    N             Y
Claudie    Rene     Ancar     109150   3723    N             Y
Stanley    John     Borden    109151   4107    N             Y
Joseph     Reed     Duplessis 109152   5234    N             Y
Koung               Lim       109153   1269    N             Y
Jonathan   Keith    Ragas     109154   6582    N             Y
Glenn      Gerald   Swift     109155   7830    N             Y




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Luoc       Van       Vo         109156   9605     N            Y
Luoc       Van       Vo         109157   0666     N            Y
Rene       Jude      Ancar      109158   1037     N            Y
Nam                  Tran       109160   4452     N            Y
Lynn       Paul      Rodrigue   109161   7828     N            Y
Paul       Anthony Sylve        109162   2421     N            Y
Warren               Demolle    109163   5912     N            Y
Barry      Steven    Alexis     109170   8286     N            Y
Can                  Tran       109177   0217     N            Y
Ngoc       Thanh     Tran       109178   6953     N            Y
William    Adaire    Ancar      109183   5160     N            Y
David      James     Sylve      109196   1362     N            Y
Minh       Khanh     Tran       109199   3020     N            Y
Gregory    Joseph    Barthelemy 109224   7212     N            Y
Joseph     Jefferson Gaines     109225   1380     N            Y
William    Stedman Hankins      109232   6020     N            Y
Norris     Martin    Sylve      109259   2700     N            Y
Clement    Benjamin LaFrance    109280   7103     N            Y
Chad       Emery     LaFrance   109282   5411     N            Y
Quyen      Thi       Nguyen     109285   1277     N            Y
Roderick   Ellery    Parker     109337   3911     N            Y
Marvin     Wayne     Ralph      109339   5421     N            Y
Khoi                 Nguyen     109403   2298     N            Y
Ghi        Van       Nguyen     109421   4174     N            Y
David                Zeringue   109428   9809     N            Y
Dung       Trung     Tran       109431   6745     N            Y
Nancy                Le         109447   8805     N            Y
Brian      Anthony Rodriguez 109465      9281     N            Y
Joseph     Michael Ronquille    109551   2819     N            Y
Maurice              Guidry     109578   4244     N            Y
Kenneth    Jospeh    Parker     109589   2944     N            Y
Rudolph    S         Gonzales   109593   1838     N            Y
Tam                  Cu         109615   2535     N            Y
Mai                  Cu         109616   5683     N            Y
Nguyet               Nguyen     109617   2571     N            Y
Tiec                 Nguyen     109618   8993     N            Y
Erwin      J         Menesses   109627   6456     N            Y
Brad                 Oracoy     109629   4276     N            Y
Joseph     F         Latapie    109632   2670     N            Y
Long       Van       Tran       109634   5226     N            Y
Blane      Peter     Ronquille  109635   7713     N            Y
Giau       Van       Nguyen     109883   3189     N            Y
Thone (Tommy)        To         109928   4590     N            Y
Terry                Alexis     109929   7521     N            Y
Nathan               Sims       110065   0705     N            Y
Ethan      Sinh      Nguyen     110084   8504     N            Y
Eric                 Dufrene    110101            N            Y
Nghia                Dinh       110182   6141     N            Y
Wade       Tracy     Gabriel    110197   114110   N            Y




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Paul      Theodore Mackey       110245    9004   N            Y
Melissa   A.        Cross       110302    8869   N            Y
Lay                 Huynh       110393    9096   N            Y
Hung      Kim       Huynh       110442    7476   N            Y
Lien      Thi       Nguyen      110444    5763   N            Y
Darren    Patrick    Anderson 110446      4528   N            Y
Ngoc      Van       Tran        110540    1220   N            Y
Jonathan  Edgar     Wilson      110559    2694   N            Y
Sang                Thach       110615    3129   N            Y
Jonathan  B.        Guidry      110832    0268   N            Y
Jose      ChristhiamSalina      110979    3426   N            Y
Tuan      Anh       Cao         111022    6504   N            Y
Darrell   Wayne     Loga        111118    3638   N            Y
Darrell   Wayne     Loga        111119    9105   N            Y
Roeun               Ung         111159    7810   N            Y
Tho       Dai       Tran        111239    6310   N            Y
Dinh      Van       Pham        111367    3667   N            Y
Dennis    Anthony Sylve         115731    5118   N            Y
Curtis    Desmond Sylve         117927    9783   N            Y
Laurencia V         Billiot     117937    0326   N            Y
Ernest    J         Dardar      117939    3414   N            Y
Cam       Thi       Hang        117940    3785   N            Y
Trung     Khac      Le          117941    7350   N            Y
Jose      Felix     Flores-Vega 117952    9813   N            Y
Anthony   Robert    Phillips    117953    9430   N            Y
Audrey              Varner      117973    1863   N            Y
Eurilda             Latapie     117974    8036   N            Y
Devin     Quetin    Lopez       117995    3169   N            Y
Santos              Rodriguez 118001      1473   N            Y
 Richard            Vongrith    118046    2396   N            Y
Joshua              Arnoult     118097    2118   N            Y
Krystle   Lynn      Tabor       118098    9072   N            Y
Roy       Andrew Sylve          118112    7080   N            Y
Russell   Raymond Hayden        105657/ 801501   N            Y
Kim       ChanbophMao           107308/   7804   N            Y
                                118074
Sambo               Kang        107309/   8345   N            Y
                                118075
Todd      Anthony Vinet         109572,   7223   N            Y
                                110584,
                                110586
Chamroeun           Duong       43270/    9964   N            Y
                                118076
Kiet      Van       Lam         53130/    9075   N            Y
                                54843
Hai       Van       Do          54394/    0862   N            Y
                                53498
Thanh     Van       Do          54466/    2688   N            Y
                                72386




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Hau          Quoc     Ly           57285/71   1391   N            Y
                                   741
Lien         Thi      Nguyen       59625/57   8652   N            Y
                                   949
Steven                Le           68037/     2143   N            Y
                                   56822
Billy        A.       Cressionie   70548/     4548   N            Y
                                   112153
Chuong       Thi      Phan         71506 /    6690   N            Y
                                   72087
Ve           Van      Nguyen       71541/     3100   N            Y
                                   71411
Noelle                Hotard       71901      4758   N            Y
                                   70278
Jeffery      Luke     Verdin       72094/60   2141   N            Y
                                   769
Hoi          Van      Nguyen       72356/     2771   N            Y
                                   63576
Charles      E.       Verdin       73442/     1398   N            Y
                                   72055
Charles      E.       Verdin       73445/     8221   N            Y
                                   72043
Donald       Pierre   Savoy        75950/     0551   N            Y
                                   117388
Phuong                Thach        77968/     3128   N            Y
                                   118124




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